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IH-34                                                                                                       Rev:2014-1



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Charles Kenyatta Jr. a.k.a Charliecee

(List the full name(s) of the plaintiff(s)/petitioner(s).)
                                                                                1:25            02475
                                                                               _____CV_________ (_____)(_____)
                                  -against-
                                                                              NOTICE OF CHANGE OF
Donald Trump, United States of America                                        ADDRESS

US General of Administration
(List the full name(s) of the defendant(s)/respondent(s).)



I hereby notify the Court that my address has changed to the following:


Kenyatta, Charles Jr 22B3002
Name (Last, First, MI)



9300 Lake Avenue PO Box T                          Brocton                              NY              14716-9798
Address                                           City                                  State           Zip Code

                                                                 charliecthageneral@gmail.com
Telephone Number                                                 E-mail Address (if available)

04/08/2025
Date                                                             Signature
